  Case 19-17832-jkf         Doc 14       Filed 03/17/20 Entered 03/17/20 14:51:42                   Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Tyesha Star Rodgers                                                            CHAPTER 7
                                  Debtor(s)

M&T Bank
                                  Movant
                vs.                                                                NO. 19-17832 JKF

Tyesha Star Rodgers
                                  Debtor(s)

Gary F. Seitz Esq.                                                                11 U.S.C. Section 362
                                  Trustee

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


         M&T Bank has filed a Motion for Relief from Stay, with the court for Relief from the Automatic
 Stay of Section 362.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

       1.      If you do not want the court to grant the relief sought in the motion, then on or before
 March 31, 2020 you or your attorney must do all of the following:
               (a)     file an answer explaining your position at:
                                United States Bankruptcy Court
                                  Robert N.C. Nix Building
                                900 Market Street, Suite 400
                                Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to the movant's attorney:
                                    Rebecca A. Solarz, Esquire
                                    KML Law Group, P.C.
                                    Suite 5000 – BNY Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

         3.       A hearing on the motion is scheduled to be held before the Honorable Jean K. Fitzsimon, the
 United States Bankruptcy Judge, in Courtroom 3 at the United States Bankruptcy Court, Robert N.C. Nix
 Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299 on April 8, 2020, at 12:30 P.M., or as
 soon thereafter as counsel can be heard, to consider the motion.

          4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).
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        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                   /s/ Rebecca A. Solarz, Esquire
                                                   Rebecca A. Solarz, Esquire
                                                   KML Law Group, P.C.
                                                   701 Market Street, Suite 5000
                                                   Philadelphia, PA 19106-1532
                                                   Phone: (215) 627-1322 Fax: (215) 627-7734
March 17, 2020
